                      UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                              Case No. 1:18-cr-00258-BLW
        Plaintiff,
                                              AMENDED FINDINGS OF FACT,
  v.                                          CONCLUSIONS OF LAW, AND
                                              PRELIMINARY ORDER OF
 PAVEL BABICHENKO,                            FORFEITURE
 PIOTR BABICHENKO,
 TIMOFEY BABICHENKO, and
 MIKHAIL IYERUSALIMETS,

        Defendants.



                                INTRODUCTION
       Last year, the government moved for a preliminary order of forfeiture

against Defendants Paul Babichenko, Peter Babichenko, Tim Babichenko, and

Mikhail Iyerusalimets. Dkt. 1644. The Court conducted forfeiture hearings on

January 24-26, 2023. The parties subsequently filed their proposed findings of fact

and conclusions of law. The Court previously entered its findings of fact,

conclusions of law, and preliminary order of forfeiture. Dkt. 1766. The government

then objected to that ruling. Dkt. 1782. During the sentencing hearings, the Court

sustained those objections and hereby amends the original preliminary order of



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forfeiture.

                                  BACKGROUND

       This case’s history is too extensive to recite in detail. In short, the defendants

were indicted in August 2018 for conspiracy to commit wire fraud, conspiracy to

traffic in counterfeit goods, labels, or packaging, conspiracy to launder money, and

individual substantive counts of the same crimes. Dkt. 1. A superseding indictment

followed in May 2019, which included additional charges and criminal forfeiture

allegations. Dkt. 210.

       In 2021, the case went to trial. At the close of the government’s case, it

dismissed the money laundering counts. The jury acquitted various defendants of

some individual counts but could not reach a verdict as to most of the charges.

       The case was retried in 2022. The defendants were found guilty of

conspiring to traffic in counterfeit goods and commit wire and mail fraud as well

as some individual substantive counts of the same crimes. Dkt. 1594, 1595, 1596,

1600. Based on those convictions, the government has moved for a forfeiture

money judgment and forfeiture of proceeds, facilitating property, and substitute

assets. Dkt. 1644.

                                LEGAL STANDARD

       Criminal forfeiture is a mandatory part of punishment. 28 U.S.C. § 2461(c);

United States v. Nava, 404 F.3d 1119, 1124 (9th Cir. 2005). “Criminal forfeiture


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operates in personam against a defendant to divest him of his title to proceeds from

his unlawful activity as a consequence of his criminal conviction.” United States v.

Lazarenko, 476 F.3d 642, 647 (9th Cir. 2007). Convicted defendants must forfeit

“tainted property”—“property flowing from . . . or used in . . . the crime itself,”

which “the defendant himself actually acquired as the result of the crime.”

Honeycutt v. United States, 137 S. Ct. 1626, 1632, 1635 (2017). There is no joint

and several liability in forfeiture. Id.

       Federal Rule of Criminal Procedure 32.2 and 21 U.S.C. § 853 set out the

standards and procedures for forfeiture. 18 U.S.C. § 2323(b)(2)(A); 28 U.S.C.

§ 2461(c); Lazarenko, 476 F.3d at 647. The government has the burden to show,

by a preponderance of the evidence, that property is subject to forfeiture. United

States v. Garcia-Guizar, 160 F.3d 511, 517 (9th Cir. 1998). That requires proof of

a nexus between the property and the crime. United States v. Liquidators of

European Fed. Credit Bank, 630 F.3d 1139, 1149 (9th Cir. 2011). The Court

applies a “but for” test to nexus: the government must establish that the defendant

would not have obtained the property but for his illegal activity. United States v.

Martin, 2014 WL 221956, *4 (D. Idaho).

       To determine nexus, the Court may rely on evidence admitted at trial as well

as additional relevant and reliable evidence. Fed. R. Crim. P. 32.2(b)(1)(B).

Because forfeiture is part of sentencing, the Court may consider evidence,


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including hearsay, “without regard to its admissibility under the rules of

evidence applicable at trial, provided that the information has sufficient indicia

of reliability to support its probable accuracy.” United States v. Petty, 982 F.2d

1365, 1367 (9th Cir. 1993) (quoting U.S.S.G. § 6A1.3(a)).

      The Court must order forfeiture against a defendant convicted of wire or

mail fraud. 18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461(c). In these cases,

forfeitable property includes “[a]ny property, real or personal, which constitutes or

is derived from proceeds traceable to” the fraud. Id. The statute provides for

forfeiture of either gross or net proceeds, depending on the nature of the crime. The

Court has already determined that gross proceeds are forfeitable in this case

because the defendants were convicted of committing wire fraud by selling

counterfeit goods. Order, Dkt. 1678 at 3-6. Consequently, forfeitable proceeds

include “property of any kind obtained directly or indirectly, as the result of”

conspiracy to commit wire fraud by selling counterfeit goods “and any property

traceable thereto.” 18 U.S.C. § 981(a)(2)(A).

      The Court must also order forfeiture against a defendant convicted of

trafficking in counterfeit materials. 18 U.S.C. § 2323(b)(1). In these cases, federal

law permits forfeiture of “[a]ny property constituting or derived from any proceeds

obtained directly or indirectly as a result of the commission of” the crime. 18

U.S.C. § 2323(a)(1). The Court has previously ruled that in the context of this


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statute, “proceeds” means gross proceeds. Order, Dkt. 1678 at 6-7.

       The statute also provides for the forfeiture of “[a]ny property used, or

intended to be used, in any manner or part to commit or facilitate the commission

of” the counterfeit trafficking offense. 18 U.S.C. § 2323(a)(1). The statute’s

language is staggeringly broad, demonstrating congressional intent for forfeiture in

criminal trademark and copyright cases to be extensive and punitive. Nevertheless,

the defendants argue the Court should define facilitating property by transplanting

the “substantial connection test”—which Congress devised for civil proceedings—

into 18 U.S.C. § 983(c)(3). The Court declines to do so. The Ninth Circuit has not

extended this test to criminal proceedings, much less the criminal intellectual

property forfeiture provision specifically. More importantly, Congress chose to set

out a wide-ranging standard rather than the substantial connection test.

              FINDINGS OF FACT AND CONCLUSIONS OF LAW1
       A.      Double Counting in the Government’s Forfeiture Motion

1.     Pursuant to Rule 32.2(b), the government seeks a money judgment against

       each defendant for the criminal proceeds he obtained, calculated from the

       total amount of Amazon deposits that he received. Dkt. 1644.



       1
         The record in this case is extraordinarily vast. For ease of reference, the Court will refer
to exhibits introduced in the second trial simply by exhibit number (e.g. Ex. 1000). When
referring to exhibits introduced at other times, such in the first trial and forfeiture hearings, the
Court will specify the proceeding (e.g. Trial 1, Ex. 1000).


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2.    This option is clearly available to the government where, as here, the

      proceeds of the criminal activity are money. United States v. Newman, 659

      F.3d 1235, 1242 (9th Cir. 2011). A money judgment is a proper form of

      criminal forfeiture. Id.

3.    Because the government requests money judgments for criminal proceeds,

      the procedural and substantive requirements of Rule 32.2(e) do not apply to

      the requested money judgment orders. See Newman, 659 F.3d at 1242–43

      (recognizing that the government seeking a money judgment under Rule

      32.2(b) does not need to satisfy the requirements of substitute assets under

      § 853(p) and Rule 32.2(e)).

4.    However, the government seeks more than money judgments. It also asks

      the Court to forfeit facilitating property from each defendant in the form of

      business bank accounts and other assets. Moreover, the government requests

      forfeiture of property purchased with criminal proceeds from Tim and Paul.

      Finally, the government wants substitute assets under the provisions of 21

      U.S.C. § 853(p) and Rule 32.2(e).

5.    Given the government’s election to seek a money judgment, all three of

      these requests could risk impermissible double counting.

6.    It is well established “double counting is flatly prohibited in the context of

      criminal forfeiture.” United States v. Young, 330 F. Supp. 3d 424, 435


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      (D.D.C. 2018) (citing numerous cases prohibiting double counting of

      proceeds). “Courts have also cautioned against allowing the same funds or

      property to be ordered forfeited multiple times under different forfeiture

      provisions.” Id.

7.    It is obvious that ordering both a money judgment for proceeds of a

      defendant’s criminal activity, and forfeiture of property purchased with

      those proceeds would constitute impermissible double counting.

8.    The same specter of double counting shadows the government’s request for

      forfeiture of facilitating property. That property cannot have been acquired

      with criminal proceeds that the Court has forfeited through a money

      judgment. Therefore, the Court may only order forfeiture of such property if

      the government establishes that it was not obtained using proceeds of the

      defendant’s criminal activity. To do otherwise would result in impermissible

      double counting.

9.    The government has not offered any financial tracing to show that the

      defendants obtained the property purchased with proceeds, facilitating

      property, or substitute assets with funds separate from the proceeds

      represented in the money judgment.

10.   The government agrees, however, that the money judgment award for each

      defendant should be offset by the final forfeiture value obtained from the


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      liquidation of all forfeited property—regardless of whether that property is

      forfeitable as facilitating property, derivative of proceeds, or substitute

      assets.

11.   The Court will take that approach.

12.   The Court will order forfeiture of property that it determines facilitated the

      crime or was purchased with criminal proceeds. To avoid double counting,

      the Court will order that each defendant’s forfeitable property, including real

      property and seized currency, be used to offset the money judgment amount

      for that defendant once the forfeiture is final.

13.   In effect, the Court will presume that all facilitating property and property

      purchased with proceeds is already represented in the money judgment. Such

      an offset ensures that future collection on the money judgment does not

      result in prohibited double counting.

      B.    Establishing Proceeds of Counterfeit Goods for Money Judgments
            I.     Suppliers

14.   Trial evidence demonstrated that at least 93.1 percent of all the goods that

      Defendants Paul Babichenko, Tim Babichenko, Peter Babichenko, and

      Mikhail Iyerusalimets sold were counterfeit.

15.   The Court reaches that conclusion by looking to the defendants’ sources of

      product supply, rather than combing through thousands of Amazon sales.


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      This approach is an efficient and effective method of assessing the nature of

      the goods sold.

16.   The defendants secured products in a variety of ways. Several obtained

      products for themselves. Paul communicated with counterfeit suppliers to

      arrange for purchases for himself, Peter, Tim, and Mikhail, as confirmed in

      chats, see Ex. 3005-65, and thousands of invoices seized from the

      warehouses, see Ex. 2403.

17.   93.1 percent of the goods sold came from only five suppliers: United Inform,

      Windigital, Sennex, Topphone, and Wiss Wireless. See Ex. 1263 (showing

      $19,132,076.90 sent to those suppliers and $1,424,464.27 sent to AT&T,

      BrightStar, and Verizon).

18.   The trial evidence established that these five suppliers provided goods

      bearing counterfeit marks frequently used throughout the ten-year

      conspiracy.

         a. United Inform. See Ex. 1300; Ex. 2622; Exs. 3005-1–3005-67; Ex.

            3006; Ex. 3020; Ex. 1263; Ex. 3020; Ex. 1263; Ex. 2601; Ex. 2401;

            Ex. 2403; Ex. 2467; Ex. 2479; Ex. 2820-24; Ex. 4176; Ex. 4227; Ex.

            4239; Ex. 4252; Ex. 4261A; Ex. 4261B; Ex. 4702; Ex. 4703; Ex.

            3604.

         b. Windigital. See Ex. 1263; Ex. 2008D; Ex. 3646; Ex. 3647; Ex. 3653;


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            Exs. 3671-1–3671-20; Ex. 4092; Ex. 4102; Ex. 4120; Ex. 4231; Ex.

            4242.

         c. Sennex. See Ex. 1263; Ex. 2403; Ex. 2442; Ex. 2479; Ex. 3604; Ex.

            4098; Ex. 4161; Ex. 4193; Ex. 4421.

         d. Topphone. See Ex. 1263; Ex. 2434; Ex. 2442; Ex. 3604; Ex. 3655; Ex.

            3656.

         e. Wiss Wireless. See Ex. 1263; Ex. 3019; Ex. 3025; Ex. 3040; Ex.

            3088; Ex. 3654; Ex. 3661; Ex. 4264.

19.   Other trial evidence bolsters the conclusion that, at a minimum, 93.1 percent

      of the goods sold were counterfeit.

20.   For instance, brand representatives from Apple and Samsung testified that

      more than 90 percent of the items reviewed over the course of the years’

      long investigation bore counterfeit marks. See, e.g., Trial 2 Tr. at 2787,

      2803–04, 2999, 3003, 3007.

21.   Thousands of items seized from the Large Warehouse, chats, emails,

      employee testimony, and financial records likewise confirmed the

      counterfeit nature of the vast majority of these goods, labels, and packaging.

      See Trial 2 Tr. at 3145 (Pupko testifying that 90–95 percent of products

      came from Chinese suppliers, not auctions); compare Ex. 1263 (suppliers),

      with Ex. 1300 (Customs and Border Protection chart), and Ex. 3005-60


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      (Wallace United informing Paul that “[A]uction is not suitable for us”).

22.   Of the thousands of items that the defendants sold, none had genuine

      packaging, genuine accessories, and genuine cellphones. See Def. Forfeiture

      Exs. D7.5F-D.7.5P (excel spreadsheets documenting Apple and Samsung’s

      authenticity determinations of defendants’ products).

23.   For each sale, there was a counterfeit trademark on one or more of the

      following: the packaging, the ear buds, the charger, and the cellphone. See

      Ex. 5002; Ex. 5003; Ex. 5004A; Ex. 5005; Ex. 5006; Ex. 5008; Ex. 5009;

      Ex. 5010; Ex. 5100; Ex. 5205; Ex. 5201B; Exs. 5301–5350; Exs. 5404–

      5408; Ex. 5412; Ex. 5413A–C; Ex. 5415; Ex. 5416; Exs. 5419–5421; Ex.

      5501; Exs. 5503–5513; Exs. 5601–5610.

24.   The chats between all defendants, their coconspirators, employees, and

      suppliers likewise underscored how counterfeiting fraud permeated their

      business during the course of the proven conspiracy. See, e.g., Trial 2 Tr. at

      3128.

25.   Altogether, this evidence leads the Court to conclude that at least 93.1

      percent of all the goods sold were counterfeit.

              II.   Product Mix
26.   The defendants say the Court should look at evidence of sales—rather than

      supplier evidence—to determine the proportion of the goods that were


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      counterfeit.

27.   They argue that the Court must consider that a portion of the product mix

      that was sold over the years included brands other than Apple and Samsung

      (the only brands that the government included in the Superseding

      Indictment) and products accurately listed as used or refurbished.

28.   To support this argument, they rely on the Declaration of Christopher

      Linscott. Def. Forfeiture Exs. D1.2A (Paul); Ex. A-2 (Peter); Ex. D3.10

      (Tim); Ex. 5D.1 (Mikhail); Dkt. 1666-1. The Court finds the declaration

      meets the basic requirement of reliability and so will overrule the

      government’s objection and admit the exhibit.

29.   Mr. Linscott offered an opinion that an average of 14.3 percent of the goods

      sold were brands other than Apple and Samsung or accurately listed as used

      or refurbished. Mr. Linscott reached this determination by reviewing bank

      records, account documents, corporate records, revenue detail, and “other

      information.” Dkt. 1666-1 at 2.

30.   The Court finds this evidence less compelling than the evidence from

      suppliers, which is supported by the defendants’ communications, emails,

      and invoices, as well as the testimony of the brand representatives and the

      physical evidence collected during the course of the investigation. Therefore,

      the Court will rely on the supplier evidence.


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31.   Still, the Court finds that the government has not met its burden to prove by

      a preponderance of the evidence that the other 6.9 percent of products sold

      were counterfeit.

32.   The government argues that these sales perpetuated the scheme. It claims

      that the defendants intentionally interspersed or separately sold non-

      counterfeit products simply as a ruse to facilitate the counterfeit scheme.

33.   The government relies primarily on statements that Defendants Mikhail

      Iyerusalimets and David Bibikov made during one of the undercover

      purchases at the Small Warehouse. The Court has reviewed the cited exhibit.

      Ex. 2010A.

34.   Although Mikhail does talk about the importance of being a “power seller”

      on Ebay, at no point does he actually say that one had to sell cheaper

      generics in order to fraudulently sell branded counterfeit items as “new”

      online. That is the government’s inference. It is not supported.

35.   A more reasonable interpretation of this exchange is that Mikhail was

      expressing his frustration because his accounts had been closed and he

      wanted them reopened. He informed the CI that to have accounts reopened,

      one had to first sell cheaper, generic items, to build a record up. He said

      nothing about using generics as a ruse to sell counterfeit, branded items as

      “new.”


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36.   The Court concludes that the government’s reliance on that snippet of a

      conversation is too thin a reed on which to base its entire theory. The

      evidence at trial showed that the products came in bulk, were quickly tested

      for basic functionality, and then were sold and sent to customers. There is

      insufficient evidence from trial that employees intentionally included or sold

      separately genuine products to facilitate counterfeit sales.

37.   The government did not establish a nexus as to the 6.9 percent of non-

      counterfeit products. Accordingly, the Court will reduce the total Amazon

      sales figure by 6.9 percent for each defendant.

            III.   Duplicate Revenues

38.   The government relied on Linda Czemerys’s calculations to determine the

      amount of the money judgment sought against each defendant.

39.   In his declaration, Mr. Linscott offers the opinion that Ms. Czemerys

      included the amount that Paul received from Peter, Tim, and Mikhail as

      Amazon deposits. Dkt. 1666-1 at 3. He says that “Linda Czemerys has

      double counted the same Amazon sales; first, in the bank account deposits

      for Mikhail, Tim, and Peter; and second when she also counts the transfers

      from those defendants to Paul Babichenko.” Id.

40.   The government has not offered any evidence in rebuttal. Trial evidence

      demonstrated other mistakes in Ms. Czemerys’s calculations. See Trial 1 Tr.


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      at 4990-92; Trial 2 Tr. at 2404.

41.   As the proceeds passed through and ultimately went to Paul, the Court finds

      that it is more appropriate to charge the double counted amounts in

      forfeitable proceeds to Paul rather than Peter, Tim, and Mikhail.

42.   Accordingly, the Court will reduce the total Amazon sales figures attributed

      to Peter, Tim, and Mikhail by the amounts that Mr. Linscott determined

      were also ascribed to Paul, as further discussed below.

      C.    Paul Babichenko

            I.     Money Judgment
43.   Based on the financial records, Paul Babichenko received at least

      $53,219,430 during the scope of the proven conspiracies. See Ex. 1250 at 5.

      Of these total deposits, $36,206,982.10 were Amazon deposits Paul

      personally received during the conspiracies proven at trial. See id.; Ex 1257;

      Ex. 1256 at 5; see also Government Brief, Dkt. 1711 at 10-11 (summarizing

      deposits).

44.   During trial, the Court heard testimony from Paul’s employees. They

      recounted operating selling accounts for him. They also described his

      directives to transfer proceeds via cash, money orders, and checks to him,

      his business, and his wife’s personal bank account. See, e.g., Trial 2 Tr. at

      4288, 4307–08. Text messages and bank records admitted at trial likewise


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      demonstrated this pattern. See, e.g., Ex. 3221-12 (Paul directing David

      Bibikov to “get[ ] money from amazon” and “count it up and bring cash”);

      D-2002 at 27 (showing summary of Amazon proceed transfers from

      employees’ accounts to Midstar LLC bank account 6620 and Natalie

      Babichenko’s 9602 account).

45.   As a result, Paul must forfeit all Amazon deposits that he received for the

      sale of counterfeit goods.

46.   As discussed above, the government has proven that 93.1 percent of the

      goods Paul sold were counterfeit. Therefore, 93.1 percent of the Amazon

      deposits represent proceeds of the crime that Paul personally received in his

      various business accounts and, thus, are forfeitable as a money judgment

      order.

47.   The Court will enter a money judgment in the amount of $33,708,700.30.

               II.   Property Purchased with Proceeds
48.   The government claims that Paul used his criminal proceeds to pay for two

      vehicles: a 2016 Lexus LX570 (Property No. 1.F) and 2012 Jeep Wrangler

      (Property No. 1.G).

49.   As to the Lexus, the government offers only the bare assertion that Paul used

      his criminal proceeds to pay for the vehicle without citation to any specific

      evidence to support that contention. Dkt. 1644 at 15-16.


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50.   The defense, however, has offered evidence to the contrary.

51.   When Paul bought the car, a $29,000 credit was provided off the purchase

      price for a trade-in allowance. Gov. Forfeiture Ex. 1.F at 2. There is no

      evidence the vehicle traded in was purchased with offense proceeds.

52.   In addition, after his arrest, Paul continued to make vehicle loan payments in

      the total amount of $31,504.98. See Def. Forfeiture Ex. D1.F-1. There is no

      evidence Paul’s post-arrest car payments were derived from offense

      proceeds.

53.   Although there is no evidence the car was purchased with tainted property,

      the Court will grant the government’s motion for forfeiture of the Lexus

      (Property No. 1.F) as a substitute asset.

54.   As to the Jeep, Paul used $20,000 from his wife’s account 9602 to purchase

      the car, made monthly payments from account 9602, and used $15,000 cash

      to make the down payment on this vehicle. See Gov. Forfeiture Ex. 1.G.

55.   Employees testified and the financial records proved at trial that, on Paul’s

      instruction, his sellers deposited cash from their sales of his cellphones and

      wrote checks into this same account (ending in 9602). See Ex. D-2002 at 27

      (showing $545,392.25 in Amazon proceeds transferred from Edgard

      Bobarykin, Andrey Lazukin, Nik. P. Bukhantsov, Igor Bukhantsov, Nik N.

      Bukhantsov, and Ivan Bukhantsov to Natalie Babichenko’s 9602 bank


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      account at Paul’s direction); see also Trial 1, Ex. 1225-3 (showing Amazon

      deposits into Account 9602). During the first trial, the government admitted

      financial summaries detailing the deposits into Account 9602 from

      coconspirators. See Trial 1, Ex. 1234-3 (financial summary exhibits showing

      deposits into 9602 account).

56.   The Jeep is therefore forfeitable. The government’s motion to forfeit the

      Jeep (Property No. 1.G) is granted.

57.   It is further ordered that the value of both vehicles be credited towards the

      money judgment against Paul once the final order of forfeiture is issued.

            III.   Facilitating Property

                i. 909 N. Cole Road

58.   Under a facilitation theory, the government seeks to forfeit real property

      located at 909 N. Cole Rd., Boise, Idaho (Property No. 1.A), which is owned

      by Paul and Gennady’s company Babichenko LLC.

59.   The government argues that the property facilitated the crime because Paul

      used the 909 N. Cole Rd. address for a few business documents.

60.   The address was listed on the Pacific Cellular Certificate of Organization

      with the Secretary of State, Ex. 1607 at 21, and a Pacific Cellular bank

      account that received $915,234.59 in Amazon direct deposits, Ex. 1256 at 7.

61.   Paul further listed 909 N. Cole Road as Midstar’s address in direct email


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      communication with Amazon to “prove the authenticity of the item” and

      “reinstate [his] listing because [he had] checked the items with the

      manufacture for authenticity.” Ex. 4056 at 1.

62.   Finally, the address was listed for Midstar on fraudulent invoices created for

      Cell2U4Less. Ex. 4054. Arthur Pupko testified that he and Paul both created

      such invoices, and he did not know who had created those particular ones.

      Trial 2 Tr. at 3286:25-3287:8. Pupko also testified that the business name

      and address were already linked in the invoice software. Trial 1 Tr. at

      4474:23-4475:23. He would pick the business he needed and the address

      would automatically populate. Id. He did not change addresses. Trial 2 Tr. at

      3289:7-12.

63.   The Court finds that the government has established the required nexus

      between the 909 N. Cole Rd. property and the offense. Simply put, using the

      property’s address facilitated Pacific Cellular and Midstar’s illegal business

      activities. That is a sufficient nexus under the very permissive standard that

      Congress established in 18 U.S.C. § 2323(a)(1).

64.   The government’s motion to forfeit 909 N. Cole Rd. property (Property No.

      1.A) is granted.

65.   The value of the property must be credited towards the money judgment

      against Paul when the final order of forfeiture is issued.


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                  ii. Sahara Case Bank Account

66.    The government seeks forfeiture of a bank account linked to Sahara case—

       Acct No. 8429-Mtn West (Property No. 1.D and Property No. 1.E).2

67.    The government fails to establish a nexus between the seized funds and

       Paul’s crime.

68.    Sahara Case is a company selling cell phone cases separate from the offense-

       related businesses, as indicated by Peter’s trial testimony (Trial 1 Tr. at

       6092–6102, 6115-6120, 6172-6174; Trial 2 Tr. at 4771-4882), the Sahara

       Case website (Trial 1 Ex. 2802), the trademark and patent applications (Trial

       1 Exs. 8351-8356; Trial 1, Exs. 8360-8368; Trial 1 Exs. 8369, 8370), and the

       trade show photograph (Trial 1 Ex. 8358).

69.    No tracing of the seized Sahara Case funds connected those funds to the

       offenses of conviction. Rather, to support its facilitation theory, the

       government points to a single transaction—Peter’s sale of three counterfeit

       “Qualcomm” chargers for $38.97.

70.    The Court is not persuaded. This transaction had nothing to do with Paul (or

       Tim, see Part E.III). There is nothing showing the proceeds of that sale was




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         Although the government’s forfeiture motion labels the account as two separate
properties with two different accounts, this is a clerical matter. There is ultimately one account
with that single account number.


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      deposited in the Sahara Case bank accounts. Even if, circumstantially, the

      Court assumes the money was so deposited, this single less-than-$40

      transaction does not sufficiently connect the forfeiture of $67,508.87 from

      the Sahara Case bank account.

71.   Nevertheless, the Court will order the forfeiture of the Sahara Case bank

      account funds (Property Nos. 1.D and 1.E) as substitute assets.

72.   The Court further orders that half the value of the account be credited

      towards the money judgment against Paul once the final order of forfeiture is

      issued.

                iii. Business Bank Accounts

73.   Paul operated numerous cellphone and cellphone accessory business bank

      accounts as another means of obscuring his fraudulent conduct. See, e.g., Ex.

      1256 at 6 (Property No.1.C); see Ex. 1257 at 3–4, 6 (showing deposits into

      Property No. 1.B). Notably, Power Moxie (Property No. 1.C) sold

      counterfeit Samsung batteries, which were additionally marked with

      Defendant Paul, Peter, and Tim’s mark for “Power Moxie.” See, e.g., Trial

      1, Ex. 2435 at 1; Ex. 1611 at 1 (showing Power Moxie LLC).

74.   Each of these business bank accounts was used to facilitate the criminal

      scheme. As such, the Court finds that the funds seized from the following

      accounts constitute forfeitable facilitating property:


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 21
           a. Acct No. 6620-Mtn West (Property No. 1.B) ($396,321.39)

           b. Acct No. 8410-Mtn West (Property No. 1.C) ($9,501.03)

75.    For that reason, the government’s motion to forfeit the business bank

       account funds (Property Nos. 1.B and 1.C) is granted.

76.    The value of the funds in these accounts shall be credited against the money

       judgment once they are finally forfeited to prevent any double counting.

               IV.    Substitute Assets

77.    The Court will grant the government’s motion seeking the following

       substitute assets as to Paul:

           a. Property No. 1.K: Real Property located at 0 West Chinden Blvd,

               Meridian Idaho3;

           b. Property Nos. 1.L, 1.M, 1.N, and 1.O: $9,105.15 in currency seized

               from Paul’s personal residence, Babichenko LLC bank account 3168,

               and personal bank account 7819.

78.    The value of these assets shall be credited against the money judgment once



       3
         The parties dispute the valuation of this real property. Compare Gov. Forfeiture Ex. 1.K
(showing valuation of property as $615,725), with Def. Forfeiture Ex. D1.K-1 at 11 (showing
valuation of property as $2,239,000).

       The Court finds that it does not need resolve this dispute. For substitute assets, valuation
must be determined at the time the asset is liquidated. The money acquired upon liquidation must
be credited against the money judgment. The government shall provide Paul Babichenko with an
accounting of the amount credited toward his money judgment.


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 22
      they are finally forfeited to prevent any double counting.

      D.    Peter Babichenko

79.   At the forfeiture hearing on January 24, 2023, Peter introduced Defendant’s

      Forfeiture Exhibit A-1—a Declaration and attached exhibits from Denise

      McClure, a forensic accountant and certified fraud examiner. Ms. McClure’s

      Declaration was previously filed with the Court on January 3, 2023. Dkt.

      1663. The government objected, but the Court overrules that objection and

      admits the exhibit. The Court finds the declaration meets the basic

      requirement of reliability in this sentencing hearing.

            I.     Money Judgment

80.   Based on the financial records, Peter Babichenko received at least

      $7,737,573.94 during the scope of the proven conspiracies. See Ex. 1250 at

      4. Of these total deposits, $4,361,502.34 were Amazon deposits that Peter

      personally received during the conspiracies proven at trial through his many

      cellphone businesses. See id.; Ex. 1255; Ex. 1506; Ex. 1606.

81.   The Court finds that Peter Babichenko’s entire cellphone businesses

      perpetuated the fraud on which he was convicted. The chats between Peter,

      his coconspirators, and his suppliers demonstrated the permeation of the

      fraud throughout his business during the course of the proven conspiracy.

      See, e.g., Ex. 3671-02; Ex. 3208-2–3208-5; Ex. 3647; Ex. 3671-01, -02, -12,


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 23
      -16, -21; Ex. 3662. Peter instructed others as to how to avoid Amazon

      account shutdowns, Ex. 3208-2, and provided fraudulent explanations for

      other conspirators to use, see Ex. 3668.

82.   As a result, Peter must forfeit all Amazon deposits for the sale of counterfeit

      goods that he received.

83.   As discussed above, the government has established that 93.1 percent of the

      goods Peter sold were counterfeit. Therefore, 93.1 percent of these Amazon

      deposits represent proceeds of the crime that Peter personally received in his

      various business accounts and, thus, are forfeitable as a money judgment

      order.

84.   In addition, Mr. Linscott determined that $798,793 of Peter’s Amazon

      deposits were double counted as forfeitable proceeds from both Paul and

      Peter. Dkt. 1666-1 at 3. Peter’s forfeiture will be reduced by that amount.

85.   The Court will enter a money judgment order against Peter Babichenko in

      the amount of $3,316,882.40.

               II.   Business Bank Accounts

86.   Peter operated numerous cellphone and cellphone accessory business bank

      accounts as another means of obscuring his fraudulent conduct. See, e.g., Ex.

      1255 at 2 (including Property Nos. 2.A, 2.B, 2.C, 2.D); Ex. 1506. Each of

      these business bank accounts was used to facilitate the criminal scheme.


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 24
           a. Acct No. X4046-Mtn West (Property No. 2.A) ($100.00)

           b. Acct No. X679-Mtn West (Property No. 2.B) ($1,565.21)

           c. Acct No. X0660-Mtn West (Property No. 2.C) ($5.00)

           d. Acct No. X3600-Mtn West (Property No. 2.D) ($302.37)

87.   The Court concludes that the government has proven a nexus between the

      accounts and Peter’s criminal conduct. The funds seized from these accounts

      are facilitating property.

88.   For that reason, the government’s motion to forfeit the business bank

      account funds (Property Nos. 2.A, 2.B, 2.C, and 2.D) is granted.

89.   The value of the funds in these accounts shall be credited against the money

      judgment once they are finally forfeited to prevent any double counting.

      E.     Tim Babichenko

             I.    Money Judgment
90.   Based on the financial records, Tim Babichenko received at least

      $25,858,795.74 during the scope of the proven conspiracies. See Ex. 1250 at

      2. Of these total deposits, $11,004,926.31 were Amazon deposits Tim

      personally received during the conspiracies proven at trial through his many

      cellphone businesses. See id.; Ex. 1252; Ex. 1253; Ex. 1504; Ex. 1508; Ex.

      1509; Ex. 1604.

91.   The Court finds that Tim’s entire cellphone businesses perpetuated the fraud


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 25
      on which he was convicted. The chats and emails between Tim, his

      coconspirators, employees, and his suppliers established the permeation of

      the fraud throughout his business during the course of the proven

      conspiracy. See, e.g., Ex. 2460 (fraudulent invoices); Ex. 3138 (email with

      supplier); Ex. 4143A (infringement letter); Ex. 4442 (customer complaint

      email).

92.   As a result, Tim must forfeit all Amazon deposits for the sale of counterfeit

      goods that he received.

93.   As noted, the government has proven that 93.1 percent of the goods Tim

      sold were counterfeit. Therefore, 93.1 percent of those Amazon deposits

      represent proceeds of the counterfeiting crime that Tim personally received

      in his various business accounts and, thus, are forfeitable as a money

      judgment order.

94.   The Court further concludes based on Mr. Linscott’s opinion that $1,090,644

      are Paul’s proceeds that were double counted against Tim. Dkt. 1666-1 at 3.

      The Court will deduct that amount from the total Amazon deposits.

95.   The Court will enter a money judgment in the amount of $9,230,196.82.

            II.    Property Purchased with Proceeds
96.   Tim purchased a 2015 Ford F-150 (Property No. 3.L) with a Global

      Distributors Washington Federal account 4112 that received $2,444,529.08


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 26
      in Amazon deposits. See Gov. Forfeiture Ex. 3.L; Ex. 1253 at 6. As such, it

      is forfeitable.

97.   The government’s motion to forfeit the F-150 (Property No. 3.L) is granted.

      The value of the truck will be credited towards the money judgment against

      Tim once the final order of forfeiture is issued.

98.   Tim also used his criminal proceeds to pay for real property at 2051 Three

      Lakes (Property No. 3.K). He used $250,000 from Global Distributors

      Washington Federal bank account 4112 to purchase this land in May 2018.

      See Gov. Forfeiture Ex. 3.K; Ex. 2719 at 7. At face value, that means the

      real property is forfeitable.

99.   The defense argues that ordering forfeiture of the truck and the land is

      impermissible double counting. The Court disagrees. Because the Court will

      use these assets to offset Tim’s money judgment, there is no risk that he is

      forfeiting the same property twice. To hold otherwise would deny the

      government’s rightful forfeiture motion.

100. Nevertheless, the Court is persuaded that the real property “has been

      commingled with other property which cannot be divided without difficulty”

      and so should not be directly forfeited. 21 U.S.C. § 853(p)(1)(E).

101. In 2021 and 2022, Tim built a house on the lot using his non-proceeds

      income.


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 27
         a. Def. Forfeiture Ex. D3.K2 shows that through November 2022, the

            house building costs totaled $1,186,775.78.

                i. The Court arrives at this number by adding the January and

                   February 2022 HSBC bank statements showing funds spent on

                   house construction (Def. Forfeiture Ex. D.K-5), construction

                   invoices (Def. Forfeiture Ex. D.K-3), Citizens Bank statements

                   for February through November 2022 showing construction

                   costs (Def. Forfeiture Ex. D3.K-4), and a Capitol One credit

                   card statement showing a construction cost (Def. Forfeiture Ex.

                   D3.K-6).

         b. Tim made $166,661 in 2020 and $800,881 in 2021 through Sahara

            Case. Def. Forfeiture Ex. D3.K-7. In 2022, Tim made about $822,500

            through Sahara case. Def. Forfeiture Ex. D3.K-5. There is no

            suggestion that any money coming in from 2020 through 2022 was

            criminal proceeds.

         c. In short, Tim had sufficient, legitimate income to build the house. The

            government has not shown the house is a forfeitable asset.

102. Since the tainted lot has been comingled with the untainted house (which

      itself cost nearly four times the original cost of the lot), the Court finds that

      the requirements of 21 U.S.C. § 853(p) are met. Therefore, forfeiture of


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 28
      substitute property, rather than the lot itself, is appropriate.

103. Still, the value of any substitute asset will be counted towards Tim’s money

      judgment. For that reason, allowing for the forfeiture of substitute property

      instead of the real property is redundant.

104. The Court will not order the forfeiture of the real property at 2051 Three

      Lakes (Property No. 3.K).

            III.   Bank Accounts

105. To facilitate his crime, Tim operated numerous cellphone business bank

      accounts. Of the $25,858,795.74 deposited into his accounts, Tim transferred

      millions among his many business and personal accounts, see Ex. 1252 at 8,

      and received proceeds from his employees’ sales (who functioned as so-

      called “Six Percenters,” see id. at 6). Compare Trial 1, Ex. 1220-2 (showing

      major depositors into various business and personal accounts as Alex

      Trofimuk, Denis Popudnik, Innessa Babichenko, Nikolay Bukhantsov,

      Vadim Galushkin, and Sahara Case) and Ex. 1253 at 4, with Ex. 2466 at 2–

      3; Ex. 4122 (Amazon shutdown email from Tim to Innessa Babichenko); Ex.

      4501 (email listing Vahdim Galushkin as tester of phones employed by

      Tim); see also Ex. 2457 at 21–30 (checks from employees for phone sales

      proceeds).

106. Tim’s business accounts received millions in Amazon direct deposits. See,


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 29
      e.g., Ex. 1250 at 2 (showing Amazon deposits into business Account Nos.

      3.B, 3.D–3.I held by Tim); Trial 1, Ex. 1291-3 (summary showing Amazon

      deposits by account).

107. In total, the government seized $517,135.99 in Tim’s bank accounts. Of

      those accounts, the following constitute facilitating property because they

      are tied to companies that sold the counterfeit items:

         a. Acct. No. 1190-Amazon (Property No. 3.A) ($23.16)

         b. Account No. 4252-WA Fed (Property No. 3.D) ($980.73)

         c. Acct. No 7081-Mtn West (Property No. 3.E) ($6,799.44)

         d. Acct. 4260-WA Fed (Property No. 3.F) ($2,126.33)

         e. Acct. 8347-Mtn West (Property No. 3.G) ($149,108.49)

         f. Acct 4112-WA Fed (Property No. 3.H) ($82,704.31)

         g. Acct 8410-Mtn West $9,501.03 (Property No. 3.I)

108. In addition, the government seeks forfeiture of Wells Fargo account 5152

      (Property No. 3.B) ($120,765.33). Although this is a personal account for

      Tim and Kristina Babichenko, it received $3,913.06 in Amazon deposits

      between 2016-2018. Ex 1252. That meets 18 U.S.C. § 2323(a)(1)’s broad

      facilitation definition. Accordingly, the account constitutes facilitating

      property.

109. The government’s motion to forfeit the business bank account funds


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 30
      (Property Nos. 3.A, 3.D, 3.E, 3.F, 3.G, 3.H, and 3.I) is granted.

110. The government’s also moved to forfeit Wells Fargo account 2293 (Property

      No. 3.C). This is not facilitating property. It is a personal account of Tim and

      Kristina. The government has not shown that this account received Amazon

      deposits or facilitated Tim’s crime in a different way. The government fails

      to prove nexus. However, the Court will order the account forfeited as a

      substitute asset.

111. The value of the funds in these accounts shall be credited against the

      money judgment once they are finally forfeited to prevent any double

      counting.

112. Finally, the government’s motion to forfeit Mountain West account 8429

      (Property No. 3.J) is granted. This account is tied to Sahara Case. As

      explained above, the Court finds that the government has not met its burden

      to show that Sahara Case facilitated the crime, but will order forfeiture of the

      account as a substitute asset. See Part C.III.ii. The Court further orders that

      half the value of the account be credited towards the money judgment

      against Tim once the final order of forfeiture is issued.

            IV.    Substitute Assets
113. The government seeks substitute assets as to Tim as follows:

         a. 2016 Harley Davidson XL 1200V (Property No. 3.M), see Ex. 1253 at


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 31
            6 and Gov. Forfeiture Ex. 3.M;

         b. $3,785 in currency seized from Tim’s personal residence (Property

            No. 3.N).

114. The government also seeks the following substitute assets against Paul,

      although Paul and Tim agree that the assets belonged to Tim:

         a. Men’s Rolex Watch (Property No. 1.H)

         b. 30 Assorted Diamond Rings (Property No. 1.I)

115. Trial evidence showed that law enforcement seized the Rolex watch and

      assorted diamond rings from Room F. Def. Forfeiture Ex. D1.H-1 at 4-5. It

      was undisputed throughout the trials that Room F was associated with Tim,

      and not Paul. See Trial 1 Exhibit. 2401A at 25-35 (photographs of Room F).

      Further, Paul makes no claim of these items and stated in his forfeiture

      hearing that they are not his. See Dkt. 1694 at 43 (“Property 1.H is a Rolex

      watch and 1.I is diamond rings. We are not making any argument about

      them. They weren’t Paul Babichenko’s property.”). Accordingly, the Court

      finds that these items should be forfeited as the substitute property of Tim.

116. The government has satisfied the requirements of 21 U.S.C. § 853(p) to seek

      the substitute asset of 2016 Harley Davidson XL 1200V (Property No. 3.M),

      $3,785 in currency seized from Tim’s personal residence (Property No. 3.N),

      the men’s Rolex watch (Property No. 1.H), and the 30 assorted diamond


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 32
      rings (Property No. 1.I). These assets are herein forfeited.

               V.   Stipulated Forfeiture

117. Pursuant to the parties’ stipulation (Dkt. 1708), the Court forfeits Western

      Digital hard drive bearing serial number WXA1E944SJ3J as containing

      illegal contraband and herein orders that the government destroy this hard

      drive.

      F.       Mikhail Iyerusalimets
118. Mikhail Iyerusalimets and his wife Anna (younger sister to Paul, Peter, and

      Tim Babichenko) each operated online businesses in the secondary phone

      market. Ex. 1501, 1502.

119. Anna was actively involved in the online businesses and operated several

      that generated income exclusively in her name. See, e.g., Ex. 1501.

120. Mikhail did the same.

121. In 2018, Anna and Mikhail were both indicted in this case. A jury convicted

      Mikhail of wire fraud, mail fraud, trafficking in counterfeit goods, and

      conspiring to do the same. The jury acquitted Anna of all charges.

               I.   Separating Mikhail’s Proceeds

122. The Court finds that Mikhail’s entire cellphone businesses perpetuated the

      fraud on which he was convicted: the communications between Mikhail, his

      coconspirators, employees, seizures, and his suppliers established the



FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 33
      permeation of the fraud throughout his business during the course of the

      proven conspiracy. See, e.g., Exs. 1319–21; Ex. 1400; Ex. 1509; Ex. 1602;

      Ex. 2818-1–2818-18; Ex. 3205; Ex. 3216-08; Ex. 3511; Ex. 3514; Ex. 3516.

123. As a result, Mikhail must forfeit all Amazon deposits for the sale of

      counterfeit goods that he received.

124. The government seeks a money judgment against Mikhail for proceeds from

      Amazon businesses that belonged to him.

125. Mobile Rack, LLC, Electro Metro, Advantage Wireless, LCC, Cellaris LLC,

      Simplified Selling, LLC, and one account for Mountain Wireless

      Distributing (Washington Federal Bank 7900) were linked to bank accounts

      solely in Mikhail’s name. Ex. 1251-3. The total Amazon deposits for

      businesses solely in Mikhail’s name is $1,196,165.51. Ex. 1251-6.

126. To the extent those proceeds were from the sale of counterfeit goods, they

      are forfeitable.

                i. Anna’s Proceeds

127. The government also seeks to include proceeds from Amazon businesses

      that belonged to Anna in the money judgment against Mikhail.

         a. Star-KS, LLC, Droid Masterz, LLC, and AIMEO, LLC were linked to

            bank accounts solely in Anna’s name. Ex. 1251-3.

         b. Star KS received $97,305.74 in Amazon deposits. Ex. 1251-6.


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 34
         c. Droid Masterz received $288,126.78 in Amazon deposits. Ex. 1251-6.

         d. AIMEO received $6,431.06 in Amazon deposits. Ex. 1251-6.

         e. The total Amazon deposits for businesses solely in Anna’s name is

            $391,863.58.

128. The government does not explain why Mikhail should forfeit proceeds

      generated by Anna’s business activities. At best, it offers the statement that

      the deposits “represent proceeds of the crime Mikhail controlled and

      received, either directly through bank accounts he held or those he

      controlled indirectly through his wife, Anna.” Dkt. 1711 at ¶ 59 (emphasis

      added).

129. The government has not met its burden to prove that Mikhail must forfeit

      proceeds that Anna generated and received into bank accounts that were

      solely in her name. The government’s argument is conclusory and flies in

      the face of the evidence and argument that it offered at trial of Anna’s heavy

      involvement in business activities. There is simply not a preponderance of

      evidence that Mikhail controlled proceeds indirectly through Anna.

130. Under Honeycutt, 137 S. Ct. at 1632, 1635, Mikhail is responsible only for

      his own ill-gotten gains. There is no joint and several liability for co-

      conspirators. Without a nexus between Anna’s proceeds and Mikhail’s

      criminal conduct, they are not forfeitable.


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 35
131. Moreover, because the jury acquitted Anna of all charges, her businesses’

      proceeds are not “tainted” property. It is “clean” property. As such, it is non-

      forfeitable.

132. Consequently, the Court will not include the $391,863.58 in proceeds from

      Anna’s businesses in Mikhail’s money judgment.

                ii. Joint Proceeds with Anna

133. The government further asks to include the proceeds from Amazon

      businesses that Mikhail shared with Anna in his money judgment.

         a. Cell Zone, LLC and Mountain Wireless Distributing (Mountain West

            Bank 7872) were linked to bank accounts jointly held by Anna and

            Mikhail. Ex. 1251-2.

         b. Cell Zone received $1,590,345.41 in Amazon deposits. Ex. 1251-6.

         c. Mountain Wireless received $392,753.31 in Amazon deposits. Ex.

            1251-6.

         d. The total Amazon Deposits for businesses shared jointly by Anna and

            Mikhail is $1,983,098.72. Ex. 1251-6.

134. The government has failed to prove a nexus between Mikhail’s criminal

      activity and the entire proceeds generated by the businesses that he and

      Anna owned jointly.

135. Mikhail undoubtably exercised control of the businesses. Money was


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 36
      transferred from his business, Cubic Wireless, to Cell Zone. See Ex. 1041,

      Ex. 1046 at 13. He submitted insurance documents, Ex. 2607 and tax

      records, Ex. 2610. He said in texts with Tim that he was “stressed out” and

      “scared” about Cell Zone getting shut down. Ex. 3216-07. Product invoices

      listed “Mike” as associated with “Cellphone Zone.” See Ex. 3506. Mikhail

      used the Cell Zone email to communicate with his employee. Trial 2 Tr. at

      3727:9-16. Of the 20 checks written to the employee, 19 were signed by

      Mikhail and one was signed by Anna. Trial 2 Tr. at 4274:3-13; Ex. 1025 at

      1-2; Trial 2 Tr. at 1164:17-1165:9.

136. That said, at trial the government argued that Cell Zone was linked to Anna.

      See, e.g. Ex. 1501. In fact, the jury saw an exhibit that linked Cell Zone’s

      $1,861,159.72 in proceeds solely to Anna. Compare id. with Exhibit 1502

      (listing Mikhail’s Amazon records, which do not include Cell Zone); See

      also Ex. D-1600 (listing Cell Zone only under Anna but listing Mountain

      Wireless under both Mikhail and Anna).

137. Trial evidence showed that Anna also exercised control of the businesses.

      Agent Akers testified that he associated Cell Zone with Anna through bank

      records and her communications with the Idaho Department of Labor. Trial

      2 Tr. at 1167:14-22. In fact, when a Department of Labor employee

      contacted Anna in November 2015, she identified Cell Zone as a company


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 37
      that she and Mikhail had operated together for two years. Ex. 1003 at 2.

138. When Amazon shut Cell Zone down, Anna told Paul, “Im still trying to get

      cellzone reopened lol . . . . . I wrote them everyday lol.” Ex. 3557 at 11. In

      later messages, Peter asked “Anna[. ] Are you cellphone zone[?]”. Ex

      3208.03. Anna responded, “Yes it got reinstated?”. Id. She then indicated

      that she and Mikhail would tell their employee to adjust a product price. Id.

      Peter and Anna repeatedly tussled over the prices she set on Cell Zone

      listings. Ex. 3208-4. She demonstrated a sophisticated knowledge of the

      businesses.

139. Anna and her brothers apparently agreed that Mikhail was not a particularly

      good businessman. Trial 2 Tr. at 4846. In a text message, Anna told her

      brothers to ignore Mikhail because he “doesn’t know anything” about the

      businesses, particularly the financial side of the businesses. Trial 2 Tr. at

      3895-96; Ex. 3205 at 2.

140. In short, trial evidence demonstrated that Anna and Mikhail were both

      heavily involved in operating their joint businesses. But under Honeycutt,

      Mikhail is liable only for the property that he “himself actually acquired as a

      result of the crime” and not “property obtained by his [acquitted] co-

      conspirator.” 137 S.Ct. at 1635.

141. Because the government failed to demonstrate a nexus between Mikhail’s


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 38
      criminal conduct and the full amount of the jointly held Mountain Wireless

      and Cell Zone account proceeds, a portion of the proceeds must be excluded

      as generated at least partially from Anna’s activities.

142. The Court need not calculate Anna’s participation with numerical precision.

      She was deeply involved in all business activities. The Court finds it

      appropriate to deduct one-half of the proceeds from these jointly held

      businesses as attributable to Anna’s activities, for a total of $991,549.36.

143. Accordingly, between the businesses held exclusively in Anna’s name and

      the jointly held businesses, the Court concludes that $1,383,412.94 of the

      Amazon deposits are proceeds attributable to Anna’s activity and, therefore,

      are not forfeitable criminally through Mikhail.

              iii. Double Counted Proceeds

144. The Court further concludes based on Mr. Linscott’s opinion that another

      $1,639,584 are Paul’s proceeds that were double counted against Mikhail.

      Dkt. 1666-1 at 3. The Court will not include that amount.

145. Also, at some point, Peter transferred one of his businesses, Rubiks Cube,

      LLC, to Mikhail. The government is seeking forfeitable proceeds from both

      Mikhail and Peter for Rubiks Cube for at least some of the same years. Ex.

      1251-6; Ex. 1255-3. For Mikhail the government claims $612,444.74 in

      Amazon deposits for Rubiks Cube as forfeitable. Ex. 1251-6. Some portion


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 39
       of that amount must be excluded as proceeds attributable to Peter. The Court

       concludes that it is appropriate to exclude from Mikhail’s total the

       $136,502.62 that the government seeks from Peter from this same account.

       See Ex. 1255-5.

146. That leaves $1,024,072.99 of proceeds from the Amazon deposits

       attributable solely to Mikhail’s conduct.4

147. As discussed above, the government has shown that 93.1 percent of the

       goods Mikhail sold were counterfeit. Therefore, 93.1 percent of those

       Amazon deposits represent proceeds of the crime that Mikhail personally

       received in his various business accounts and, thus, are forfeitable as a

       money judgment order.

148. The Court will enter a money judgment order against Mikhail Iyerusalimets

       in the amount of $953,411.95.

              II.    Specific Property
149. To facilitate his crime, Mikhail operated numerous cellphone and cellphone

       accessory business bank accounts. See Ex. 1251 at 3 (including Property

       Nos. 5.B, 5.C, and 5.D). Each of these business bank accounts was used to




       4
         $4,183,572.55 (total deposits) less $391,863.58 (Anna’s sole proceeds) less
$991,549.36 (Anna’s shared proceeds) less $1,639,584 (Paul’s proceeds) less $136,502.62
(Peter’s proceeds from Rubiks Cube) equals $1,024,072.99


FINDINGS OF FACT, CONCLUSIONS OF LAW & ORDER - 40
      facilitate the criminal scheme:

           a. Acct No. 2418-Mtn West (Property No. 5.B) ($38.52)

           b. Acct No. 7900-WA Fed (Property No. 5.C) ($27,237.76)

           c. Acct No. 6274-Mtn West (Property No. 5.D.) ($43,985.55)

150. As such, the Court concludes that these accounts are facilitating property.

151. Mikhail used a 2010 Land Rover (Property No. 5.A) to facilitate the crimes

      by delivering packages containing counterfeit goods, packaging, and labels.

      See Ex. 2002B (surveillance photographs of Mikhail dropping off

      counterfeit products purchased undercover by agents). That is sufficient to

      satisfy the broad facilitating standard in the counterfeit trafficking forfeiture

      provisions.

152. For that reason, the government’s motion to forfeit the business bank

      account funds and the 2010 Land Rover (Property Nos. 5.A, 5.B, 5.C, and

      5.D) is granted.

153. The value of these assets shall be credited against the money judgment once

      they are finally forfeited to prevent any double counting.

      G.     Contraband
154. From the Small Warehouse, agents seized nine pallets of counterfeit goods,

      which totaled to 13,416 separate items. See Trial 2 Tr. at 2021; Ex. 2501.

155. In the Large Warehouse, agents seized fifty-one pallets, totaling 90,357


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      separate items, which included 8,399 empty Apple iPhone packages and

      18,768 empty Samsung packages. See, e.g., Exs. 2401, 2402.

156. Pursuant to the expanded provisions of the intellectual property provisions,

      these 103,773 items seized and packaged onto sixty pallets are forfeitable

      contraband. See Trial 2 Tr. at 645–46; see also 18 U.S.C. § 2323(a)(1)(A)

      (“Any article, the making or trafficking of which is, prohibited under section

      506 of title 17, or section 2318, 2319A, 2319B, or 2320, or chapter 90, of

      this title”).

      H.     Eighth Amendment

157. The Eighth Amendment prohibits the imposition of “excessive fines.” U.S.

      CONST. AMEND. VIII. The Constitution thus “limits the government’s power

      to extract payments, whether in cash or in kind, as punishment for some

      offense.” United States v. Bajakajian, 524 U.S. 321, 328 (1998) (quotation

      and citation omitted).

158. Forfeitures are fines subject to Eighth Amendment scrutiny if they constitute

      punishment for an offense. Id.

159. “[A] punitive forfeiture violates the Excessive Fines Clause if it is grossly

      disproportional to the gravity of the defendant’s offense.” Id. at 334.

160. The Court considers “four factors when weighing the gravity of an offense:

      (1) the nature and extent of the crime, (2) whether the violation was related


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      to other illegal activities, (3) the other penalties that may be imposed for the

      violation, and (4) the extent of the harm caused.” United States v. Beecroft,

      825 F.3d 991, 1000 (9th Cir. 2016) (citation and quotation omitted).

161. The defendants were convicted of operating a ten-year, sophisticated

      scheme. They participated in a massive conspiracy to import hundreds of

      thousands of counterfeit trademarked goods, repackage them, and sell them

      online.

162. They defrauded thousands of unsuspecting consumers.

163. They stole valuable intellectual property from trademark owners, who enjoy

      an exclusive right to prohibit others from trafficking in the spurious versions

      of goods and services bearing their marks. Matal v. Tam, 137 S. Ct. 1744,

      1751 (2017); see also 18 U.S.C. § 2320.

164. To facilitate this scheme, the defendants solicited the help of unsuspecting

      young members of their community who operated numerous online

      businesses and tested products. See, e.g., Ex. D-2002 at 4 (chart of

      employees).

165. In short, the defendants’ crimes were extensive and grave.

166. There is no indication that the crimes were connected to other illegal

      activities. To the contrary, although the government initially charged the

      defendants with money laundering, the government dismissed those charges


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      after the close of its case at the first trial.

167. “In considering an offense’s gravity, the other penalties that the Legislature

      has authorized are certainly relevant evidence, as are the maximum penalties

      that could have been imposed under the Sentencing Guidelines.” United

      States v. 132,245.00 in United States Currency, 764 F.3d 1055, 1059-60 (9th

      Cir. 2014) (quotations and citations omitted). “[T]he maximum penalties

      under the Sentencing Guidelines should be given greater weight than the

      statutory maximum because the Guidelines take into account the specific

      culpability of the offender.” Id.

168. For a first offense of trafficking in counterfeit goods, the statutory maximum

      term of imprisonment is 10 years and the maximum fine is $2,000,000. 18

      U.S.C. § 2320(b)(1)

169. For a mail and wire fraud offense, the statutory maximum term of

      imprisonment is 20 years and the maximum fine is $250,000. 18 U.S.C.

      §§ 1343, 1341, 1349.

170. The U.S. Probation Office calculated the guideline range for the defendants

      as 188-235 months for Paul, 108-135 months for Peter, 135-168 months for

      Tim, and 97-121 months for Mikhail. Both the government and the defense

      have pending objections to the guideline ranges.

171. Again, both the maximum penalties and the anticipated guideline ranges


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      underscore the severity of the defendants’ criminal conduct. By prescribing

      such severe penalties, Congress clearly indicated its view that these crimes

      constitute significant harm.

172. The Court recognizes that the money judgments alone far exceed the

      maximum fine for mail and wire fraud and exceed (except for Mikhail) the

      maximum for counterfeit trafficking.

         a. Paul’s judgment of $33,708,700.30 is almost 17 times the $2,000,000

            maximum penalty for counterfeit trafficking.

         b. Peter’s judgment of $4,060,558.68 is around 1.6 times the maximum

            penalty.

         c. Tim’s judgment of $9,230,196.82 is about 6.5 times the maximum

            fine.

173. Although these penalties are undoubtably severe, the disparity is warranted

      because it corresponds to the injuries sustained by the trademark holders and

      the defrauded consumers over a decade.

174. The defendants argue that the actual benefit they received should inform the

      Court’s assessment of the severity of the offense. Seventy-four percent of

      their proceeds went to cover the costs of goods sold and shipping costs. Dkt

      1666-1 at 13. Once operating expenses were paid for, the defendants earned

      about a 9 percent profit on the Amazon sales. Id.


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175. The Court is not persuaded by this argument. The Eighth Amendment is

      concerned with the proportionality between the offense and the fine.

176. That the defendants committed the offense in a manner that left them with a

      low profit margin does not factor into that proportionality. See United States

      v. Abhijit Prasad, 18 F.4th 313, 322 (9th Cir. 2021) (“A criminal forfeiture

      that simply divests a defendant of the profits from his crime has little

      deterrent value.”). As the old adage goes, “crime doesn’t pay.”

177. In light of the seriousness of the offense, the penalties imposed, and extent

      of harm caused, the money judgment amounts are constitutionally

      proportional to the crimes of conviction.

                                      ORDER

1.    The government’s motion for preliminary order of forfeiture (Dkt. 1644) is

      GRANTED IN PART.

2.    The Court grants the government the following money judgments pursuant

      to Rule 32.2:

         a. A judgment of $33,708,700.30 against Paul Babichenko

         b. A judgment of $3,316,882.40 against Peter Babichenko

         c. A judgment of $9,230,196.82 against Tim Babichenko

         d. A judgment of $953,411.95 against Mikhail Iyerusalimets

3.    The Court enters a preliminary order of forfeiture for the following assets as


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      to Paul Babichenko:

         a. Property No. 1.A (facilitating property): Real Property located at 909

            North Cole Rd., Boise, Idaho

         b. Property No. 1.B (facilitating property): Acct No. 6620-Mtn West

            ($396,321.39)

         c. Property No. 1.C (facilitating property): Acct No. 8410-Mtn West

            ($9,501.03), with Paul to receive a credit for half the account towards

            his money judgment

         d. Property No. 1.D (substitute asset): Acct No. 8429-Mtn West

            ($59,741.95), with Paul to receive a credit for half the account

            towards his money judgment

         e. Property No. 1.E (substitute asset): Acct No. X8429-Mtn West

            ($7,766.92), with Paul to receive a credit for half the account towards

            his money judgment

         f. Property No. 1.F (substitute asset): 2016 Lexus LX570

         g. Property No. 1.G (purchased with proceeds): 2012 Jeep Wrangler

            Rubicon

         h. Property No. 1.K (substitute asset): Real Property located at 0 West

            Chinden Blvd, Meridian, Idaho

         i. Property No. 1.L (substitute asset): Acct No. 3168-Mtn West


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            ($719.69)

         j. Property No. 1.M (substitute asset): Approximately $4,982.00 in U.S.

            Currency

         k. Property No. 1.N (substitute asset): Acct No. 7819-Mtn West

            ($3,403.46)

         l. Property No. 1.O (substitute asset): One Silver bar and 103 seized

            Silver Coins

4.    The Court enters a preliminary order of forfeiture for the following assets as

      to Peter Babichenko:

         a. Property No. 2.A (facilitating property): Acct No. X4046-Mtn West

            ($100.00)

         b. Property No. 2.B (facilitating property): Acct No. X0679-Mtn West

            ($1,565.21)

         c. Property No. 2.C (facilitating property): Acct No. X0660-Mtn West

            ($5.00)

         d. Property No. 2.D (facilitating property): Acct No. X3600-Mtn West

            ($302.37)

5.    The Court enters a preliminary order of forfeiture for the following assets as

      to Tim Babichenko:

         a. Property No. 3.A (facilitating property): Acct No. 1190-Amazon


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            ($23.16)

         b. Property No. 3.B (facilitating property): Acct No. 5152-Wells Fargo

            ($120,765.33)

         c. Property No. 3.C (substitute asset): Acct No. 2293-Wells Fargo

            ($77,618.30)

         d. Property No. 3.D (facilitating property): Acct No. 4252-WA Fed

            ($980.73)

         e. Property No. 3.E (facilitating property): Acct No. 7081-Mtn West

            ($6,799.44)

         f. Property No. 3.F (facilitating property): Acct No. 4260-WA Fed

            ($2,126.33)

         g. Property No. 3.G (facilitating property): Acct No. 8347-Mtn West

            ($149,108.49)

         h. Property No. 3.H (facilitating property): Acct No. 4112-WA Fed

            ($82,704.31)

         i. Property No. 3.I (facilitating property): Acct No. 8410-Mtn West

            ($9,501.03), with Tim to receive a credit for half the account towards

            his money judgment

         j. Property No. 3.J (substitute asset): Acct No. 8429-Mtn West

            ($67,508.87), with Tim to receive a credit for half the account towards


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            his money judgment

         k. Property No. 3.L (purchased with proceeds): 2015 Ford F-150 VIN:

            1FTFW1EF0FFB06787

         l. Property No. 3.M (substitute asset): 2016 Harley Davidson XL 1200V

         m. Property No. 3.N (substitute asset): Approximately $3,785.00 in U.S.

            Currency

         n. Property No. 1.H (substitute asset): One Men's Rolex Watch, Model

            #16013

         o. Property No. 1.I (substitute asset): 30 Assorted Diamond Rings

6.    The Court enters a preliminary order of forfeiture for the following assets as

      to Mikhail Iyerusalimets:

         a. Property No. 5.A (facilitating property): 2010 Land Rover

         b. Property No. 5.B (facilitating property): Acct No. 2418-Mtn West

            ($38.52)

         c. Property No. 5.C (facilitating property): Acct No. 7900-WA Fed

            ($27,237.76)

         d. Property No. 5.D (facilitating property): Acct No. 6274-Mtn West

            ($43,985.55)

7.    Each defendant’s forfeitable property, as outlined in paragraphs 3-6 of this

      order, shall be used to offset the money judgment amount for that defendant


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      once the forfeiture is final.

8.    The Court orders that the following specific property be forfeited as illegal

      contraband:

         a. Approximately 103,773 items seized and packaged onto sixty pallets

             are forfeitable contraband;

         b. Western Digital hard drive bearing serial number WXA1E944SJ3J

9.    The government’s motion for forfeiture is DENIED in all other respects.




                                             DATED: May 2, 2023


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




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